Case 2:02-cv-02234-SHI\/|-dkv Document 31 Filed 08/19/05 Page 1 of 2 Page|D 36

 

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IN THE UNITED sTATEs DISTRICT cOURT
FOR THE wEsTERN DISTRICT OF TENNESSEE _
WESTERN DIVISION 05 AUG |9 nH 6'1*9
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AGNES J. GLASGOW, ET AL., W!DLU §§ …E}HCI(§UHT
Plaintiffs,
vs. NO. 02-2234-Ma

METHODIST HEALTHCARE-MEMPHIS
HOSPITALS, PLAN 503, E'I‘ AL.,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is the August lO, 2005, motion of
plaintiffs for permission to Conduct limited disoovery.

The motion is hereby referred to the magistrate judge for a
determination. Any exceptions to the magistrate's report shall
be made within ten (10) days of the report, setting forth
particularly those portions of the order excepted to and the
reasons for the exceptions.

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day of August

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

It is so ORDERED this

 

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Honorable Samuel Mays
US DISTRICT COURT

